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 2
                                UNITED STATES DISTRICT COURT
 3                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION
 4

 5
     ALENA KRILEY,                                           Case No.: 1:22-cv-04832
 6
                      Plaintiff,
 7
     vs.                                                     PLAINTIFF’S MEMORANDUM OF LAW
 8
     PAUL KRILEY                                             JUDGE: HON. MARTHA M. PACOLD
 9                                                           MAGISTRATE: JEFFREY COLE
10
                      Defendant.

11
           PLAINTIFF’S MEMORNADUM OF LAW DEFINING INCOME PURSUANT TO
12
                                  1183a(a)(1)(A)
13
           Pursuant to prior Order of Court , Plaintiff Alena Kriley, by her attorney, Scott T. Ferrill, files
14
     this MEMORANDUM OF LAW DEFINING INCOME PURSUANT TO 1183a(a)(1)(A), and
15

16   states:

17         The statute does not define income, and courts have not followed a uniform approach. See Flo-
18
     res v. Flores, 590 F. Supp. 3d 1373, 1380-81 (W.D. Wash. 2022) (citing cases taking different ap-
19
     proaches). Recently, several federal courts have looked to the definition in 8 C.F.R. § 213a.1:
20
           Household income means the income used to determine whether the sponsor meets the minimum
21

22   income requirements under sections 213A(f)(1)(E), 213A(f)(3), or 213A(f)(5) of the Act.

23         ....
24
           Income means an individual's total income (adjusted gross income for those who file IRS Form
25
     1040EZ) for purposes of the individual's U.S. Federal income tax liability, including a joint income
26
     tax return (e.g., line 22 on the 2004 IRS Form 1040, line 15 on the 2004 IRS Form 1040A, or line 4
27

28                                                       1
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 1   on the 2004 IRS Form 1040EZ or the corresponding line on any future revision of these IRS Forms).
 2
        8 C.F.R. § 213a.1(2) (2023). This regulation sets out definitions for use in connection with
 3
     evaluating affidavits of support. See id. Some federal courts refuse to apply Section 213a.1 be-
 4
     cause, [**23] in their view, it "applies only to determine whether a sponsor's household income is
 5

 6   sufficient to sponsor an immigrant, not to calculate the sponsored immigrant's income post-separa-

 7   tion." Tsanev v. Tsanev, No. C21-1667-MLP, 2022 U.S. Dist. LEXIS 148297, 2022 WL 3566759,
 8
     at *6 (W.D. Wash. Aug. 18, 2022). Without a statutory or regulatory definition, these courts interpret
 9
     income "expansively" to "includ[e] the immigrant's government benefits, educational grants, and
10
     alimony, if any." Ronchin v. Hoop, No. 19 C 3981, 2021 U.S. Dist. LEXIS 203134, 2021 WL
11

12   4902456, at *3 (N.D. Ill. Oct. 21, 2021); see Tsanev, 2022 U.S. Dist. LEXIS 148297, 2022 WL

13   3566759, at *6 (citing other decisions taking expansive approach). More recently, courts have ap-
14
     plied Section 213a.1 even though it is not explicitly applicable. See, e.g., Flores, 590 F. Supp. 3d at
15
     1382 (deciding that "it makes sense to apply the definition set forth in 8 C.F.R. § 213a.1").
16
        In deciding whether to apply this definition, we start with "the stated statutory goal," which is
17

18   "to prevent the admission to the United States of any alien who 'is likely at any time to become a

19   public charge.'" Wenfang Liu v. Mund, 686 F.3d 418, 422 (7th Cir. 2012) (citing 8 U.S.C. §
20
     1182(a)(4)(A)); see Beringer, 2020 Tex. App. LEXIS 2692, 2020 WL 1545797, at *1 n.1 ("The
21
     sponsor's promise to maintain the immigrant is intended not only to protect the immigrant from pov-
22
     erty, but to protect the government from a public burden." (citation omitted). Consistent with this
23

24   focus, the sponsor's obligation of support terminates only if the immigrant becomes naturalized or

25   "has worked 40 qualifying quarters of coverage as defined under title [**24] II of the Social Security
26
     Act or can be credited with such qualifying quarters." 8 U.S.C. § 1183a(a)(2), (3)(A). Applying Sec-
27
     tion 213a.1's definition of income is consistent with that focus. Interpreting the term more
28                                                     2
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 1   expansively has led courts to conclusions less consistent with the statutory purpose. See, e.g., Erler
 2
     v. Erler, No. 12-CV-02793-CRB, [*573] 2017 U.S. Dist. LEXIS 189203, 2017 WL 5478560, at *8-
 3
     9 (N.D. Cal. Nov. 15, 2017), aff'd, 798 Fed. Appx. 150 (9th Cir. 2020) (concluding that income from
 4
     foreign pension funds that immigrant beneficiary could not access constituted income); Toure-Davis
 5

 6   v. Davis, No. CIV.A. WGC-13-916, 2015 U.S. Dist. LEXIS 26224, 2015 WL 993575, at *6 (D. Md.

 7   Mar. 4, 2015) (holding that third party's allowing immigrant beneficiary to sleep in basement in re-
 8
     turn for housecleaning services constituted income).
 9
        In sum, Section 213a.1's definition of income is consistent with the statutory text and applying it
10
     furthers the goal of ensuring the immigrant beneficiary does not become a public charge. In the
11

12   absence of further guidance, this Court should apply Section 213a.1 in calculating a sponsored im-

13   migrant's income. See Flores, 590 F. Supp. 3d at 1382 (employing Section 213a.1); Sultana v. MD
14
     Safayet Hossain, 575 F. Supp. 3d 696, 699-700 (N.D. Tex. 2021) (same); Fukita v. Gist, No. 20-CV-
15
     1869 (SRN/LIB), 2021 U.S. Dist. LEXIS 16293, 2021 WL 288121, at *5 (D. Minn. Jan. 28,
16
     2021) (same).
17

18       Generally, a "loan is not taxable income when received because the taxpayer [**27] has an

19   obligation to repay it." Nath v. Commissioner of Internal Revenue, T.C.M. (RIA) 2023-022, T.C.
20
     Memo 2023-22 (T.C. 2023). The "conventional test" for a loan in the taxation context "is to ask
21
     whether, when the funds were advanced, the parties actually intended repayment." Welch v. Comm'r,
22
     204 F.3d 1228, 1230 (9th Cir. 2000). Plaintiff is expected to repay her family members and others,
23

24   and there is no contrary evidence.

25      In regard to SNAP benefits (fka food stamps), benefits are not considered income or resources
26
     for any purpose under any Federal, State or local laws. See, 7 USCS Sec. 2017.
27
        Regarding the definition of income from the Ninth Circuit, cited in the findings of this Court in
28                                                     3
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 1   Plaintiff’s summary judgment motion, which has addressed the issue three times. In a reported case,
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     the Ninth Circuit reviewed the district court's grant of summary judgment to a defendant-spon-
 3
     sor. Erler v. Erler (Erler I), 824 F.3d 1173 (9th Cir. 2016). The district court concluded that the
 4
     sponsor had not breached his obligation to support the immigrant because the immigrant moved in
 5

 6   with her adult son who had an annual income greater than 125% of the federal poverty line. Id. at

 7   1175-76. The Ninth Circuit vacated the court's order, holding in part that "[w]hen measuring the
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     immigrant's income, the court must disregard the income of anyone in the household who is not a
 9
     sponsored immigrant." Id. at 1180. The court noted that while § 213a.1 defines income for the spon-
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     sor, it does not define income for the sponsored immigrant. Id. at 1177. But the court did not specif-
11

12   ically [*782] address whether it would be appropriate to adopt the definition in § 213a.1.

13      Later in the same case, appealed again after remand, the Ninth Circuit in an unpublished opinion
14
     reviewed the district court's decision to reduce the defendant's liability by amounts the immigrant
15
     received in food stamps and from a foreign [**7] pension. Erler v. Erler (Erler II), 798 F. App'x
16
     150 (unpublished memorandum). The immigrant argued in part that the food stamps and foreign
17

18   pension did not qualify as income because they were non-taxable under § 213a. Id. at 150-51. The

19   Ninth Circuit rejected her argument, concluding that § 213a "applies only to determine whether a
20
     sponsor's household income is sufficient to sponsor an immigrant, not to calculate the sponsored
21
     immigrant's income." Id. at 150. The court held that the pension was income without much discus-
22
     sion other than to reject the plaintiff's argument and to note that the plaintiff had control over the
23

24   pension. Id. at 151. The court also held that food stamps were income since the statute specifically

25   states that the entity providing the public benefits can seek reimbursement from the sponsor for the
26
     value of the benefits provided to the sponsored immigrant. Id.
27
        Finally, in another unpublished opinion, the Ninth Circuit reviewed a district court's jury
28                                                     4
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 1   instructions on how to calculate a sponsored immigrant's income. Anderson, 840 F. App'x 92. The
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     district court instructed the jury "that in addition to wages and cash payments," "income includes
 3
     property, services, gifts, or educational grants and constructively-received income." Id. at
 4
     94 (cleaned up). The Ninth Circuit agreed that income [**8] appropriately includes educational
 5

 6   grants but held that the district court erred by including "constructively-received income," and that

 7   health insurance benefits and a judgment the sponsor had obtained against the immigrant should not
 8
     have been considered as income. Id. at 95. The court "recognize[d] the lack of precedential authority
 9
     defining 'income' in this context," but it found that "establishing a uniform definition [was] unnec-
10
     essary to resolve this appeal" and declined the plaintiff's "invitation to restrict 'income' to the defini-
11

12   tion set forth in 8 C.F.R. § 213a.1." Id.

13       Since Anderson and Erler II, district courts in the Ninth Circuit have gone both ways. One court
14
     recently concluded that the definition in § 213a.1 should apply, finding that Anderson and Erler
15
     II are not precedential authority and that there was no compelling reason to discard the regulatory
16
     definition. See Flores, 590 F. Supp. 3d at 1381-82. A different judge on the same court concluded
17

18   later that the definition in § 213a.1 should not apply and that Anderson and Erler II, while nonbind-

19   ing, were "persuasive in light of the majority of federal courts that have also declined to restrict a
20
     sponsored immigrant's income to only their taxable income." Tsanev, 2022 U.S. Dist. LEXIS 148297,
21
     2022 WL 3566759, at *6..
22
         The definition of "income" in § 213a.1 is the appropriate starting point. Although § 213a.1 is
23

24   within a section entitled "Affidavits of Support on Behalf of Immigrants," another regulation within

25   the same section uses "income" to refer to the sponsored immigrant's income. See 8 C.F.R. §
26
     213a.2(c)(2) ("In order for the intending immigrant to overcome the public [*783] charge ground
27
     of inadmissibility, the sponsor must demonstrate the means to maintain the intending immigrant at
28                                                       5
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 1   an annual income of at least 125 percent of the Federal poverty line."). The Affidavit of Support also
 2
     incorporates § 213a by reference. See Doc. 1-3 at 7 ("If you sign Form I-864 on behalf of any per-
 3
     son . . . and that intending immigrant submits Form I-864 to the U.S. Government with his or her
 4
     application for an immigrant visa or adjustment of status, under INA section 213A, these actions
 5

 6   create a contract between you and the U.S. Government.").

 7      As the Supreme Court has repeatedly said in construing statutes, if a word or phrase means one
 8
     thing in part of the statute, it generally means the same thing in another. Courts "normally construe
 9
     regulations using the same rules [they] employ to construe statutes." Harris v. Norfolk S. Ry. Co.,
10
     784 F.3d 954, 962 (4th Cir. 2015). This test has the advantage of being relatively straightforward to
11

12   apply, without the need to delve into the policy reasons for the sponsorship requirement or to develop

13   a new world of case law defining "income" under the statute. Deference to a reasonable definition in
14
     the regulations is also usually appropriate in the immigration context.
15
        In contrast, there is not a good reason to reject the regulatory definition, at least in most situa-
16
     tions. There are a myriad of ways to define "income," making consistency difficult. The policy and
17

18   "statutory purpose" arguments used by courts that do not apply the regulatory definition can often

19   support either result, if they are fleshed out. Nothing else appearing, the definition in the regulation
20
     is appropriate. See generally Flores, 590 F. Supp. 3d at 1382.
21
        The Court in this instance may appreciate the cases to the contrary. But none have precedential
22
     value, many involved pro se litigants and little to no consideration of the regulation, and the one
23

24   published appellate case is not on point.

25      The following are recent cases, all following the most recent trend in federal courts and state
26
     courts, to define an immigrant’s income for calculation of damages as ONLY federally taxable
27
     income as defined in 8 CFR 213a.1:
28                                                      6
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 1       1.   Asilonu v. Okeiyi, 673 F. Supp. 3d 776 (M.D.N.C. 2023);
 2
         2. Biton v. Jackson, No. CIV-23-968-SLP, 2025 U.S. Dist. LEXIS 2592 (W.D. Okla. Jan. 7,
 3          2025);

 4       3. Flores v. Flores, 590 F. Supp. 3d 1373 (W.D. Wash. 2022);
 5
         4. Morton v. Cisneros, No. 1:23-cv-01726-PTG-LRV, 2025 U.S. Dist. LEXIS 27825 (E.D. Va.
 6          Jan. 8, 2025);

 7       5. Fukita v. Gist, No. 20-CV-1869 (SRN/LIB), 2021 U.S. Dist. LEXIS 16293 (D. Minn. Jan.
            28, 2021);
 8

 9       6. Kazmi v. Kazmi, 693 S.W.3d 556 (Tex. App. 2023); and,

10       7.   Sultana v. Hossain, 575 F. Supp. 3d 696 (N.D. Tex. 2021).
11

12       Given the above, this Court should determine, at the start of trial, that for purposes of calculating

13   income, 8 CFR Sec. 213a.1 be used to define income.
14

15   Respectfully submitted,

16   ALENA KRILEY
17
     Dated: January 9, 2025
18

19
     /s/ Scott T. Ferrill
20

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22

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